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                                            No. 25-1560


                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


                                       BADAR KHAN SURI,
                                        Petitioner-Appellee,

                                                 v.

                                    DONALD J. TRUMP, ET AL.,
                                      Respondents-Appellants.


             ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                       District Court Case No. 1:25-cv-00480


                          MOTION TO WITHDRAW APPEARANCE


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                  UNOPPOSED MOTION TO WITHDRAW APPEARANCE

              Pursuant to Local Rule 46(c), Appellants hereby move to withdraw the

        appearance of Tom B. Scott-Sharoni as counsel for Appellants. Good cause supports

        this request, as Mr. Scott-Sharoni’s last day of employment with the U.S.

        Department of Justice’s Office of Immigration Litigation is July 11, 2025.

        Appellants continue to be represented by other counsel in this matter.

              Per Local Rule 27(a), Appellants certify that counsel for the Parties have

        conferred on the intended filing of the motion, and Appellee takes no position on the

        motion.




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        July 10, 2025                         Respectfully submitted,


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                               CERTIFICATE OF COMPLIANCE

              Pursuant to Federal Rule of Appellate Procedure 27(d)(2)(A), I certify that the

        foregoing was prepared using 14-point Times New Roman type, is proportionally

        spaced and contains less than 5,200 words, exclusive of the tables of contents and

        citations, and certificates of counsel.

                                    CERTIFICATE OF SERVICE

              I certify that on July 10, 2025, I filed the foregoing with the Clerk of the Court

        for the United States Court of Appeals for the Fourth Circuit by using the Court’s

        CM/ECF System. I further certify that all participants in the case are registered

        CM/ECF users and that service will be accomplished through that system.



        July 10, 2025                                  /s/ Tom B. Scott-Sharoni
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